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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                     )
                                             )
   V.                                        )       USDC No. 21-cr-555 (RCL)
                                             )
Pamela Anne Hemphill, defendant.             )

                                        ORDER

        Upon good cause shown in Defendant's Unopposed Motion to Continue Status Hearing,

the lack of opposition from the United States, and on other evidence before the Court in the

record of the case, it is hereby

        ORDERED, this      I 1�ay   of �                    , 2021, that the status hearing set for
                       -                         .
November 18, 2021 at 12:30 p.m. is herebyVACATED, and it is further

        ORDERED, that the status hearing is herebyscheduled for          �            ..,_,J
202_L, at_�/.,,
             __ a.m./.p_m. �-,(,. �
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  �, ,r"'� � w-aAJ.                   r2�( �- �
                                     �yce C. Lamberth, Senior Judge
                                     United States District Court for the District of Columbia

Cc: Nathan I. Silver, Esq.
    6300 Orchid Drive
    Bethesda, MD 20817-5614
    ByECF

   Asst. U.S. AttorneyKatherine Nielsen
   U.S. Attorney's Office for the District of Columbia
   555 4th Street, N.W.
   Washington, D.C. 20001
   ByECF
